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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                           )
JOHN DOE,                                  )

                                       )
              Petitioner,              ) Civil Action No. 1:17-cv-2069 (TSC)
                                       )
      v.                               )
                                       )
GEN. JAMES N. MATTIS,                  )
 in his official capacity as SECRETARY )
 OF DEFENSE,                           )
                                       )
               Respondent.             )


                               NOTICE OF APPEARANCE

       Undersigned counsel, Terry M. Henry, hereby enters his appearance as one of the counsel

for Respondent in the above-named case.

January 22, 2018                                  Respectfully submitted,

                                                  CHAD A. READLER
                                                  Acting Assistant Attorney General

                                                  JESSIE K. LIU
                                                  United States Attorney


                                                  /s/ Terry M. Henry
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